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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA


 HOLLY LLOYD,                                                   No. 2:20-cv-4330-HB

                        Plaintiff,                              [Electronically filed]

        vs.
                                                                JUDGE HARVEY BARTLE III
 COVANTA PLYMOUTH RENEWABLE ENERGY,
 LLC,

                        Defendant.


           STIPULATION OF VOLUNTARY DISMISSAL BY CONSENT


        In accordance with the terms of the Settlement Agreement as of March 18, 2022, as

executed by the Parties and pursuant to Rule 41(a) of the Federal Rules of Civil Procedure,

Plaintiff Holly Lloyd and Defendant Covanta Plymouth Renewable Energy, LLC hereby

stipulate and agree that all Plaintiff’s claims raised herein are hereby dismissed with prejudice.


Dated: April 22, 2022

BY: /s/ Matthew Z. Robb                            BY: /s/ Collin Gannon
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So Approved & Ordered,

  Harvey Bartle III
___________________________
Harvey Bartle III
Senior United States District Court Judge

   April 25, 2022




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